  Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RAIDMOND HANSBREW,                    )
         Plaintiff,                   )
                                      )           Civil Action No. 114—2020
      v.                              )
                                      )           Complaint
JOSHUA Allison,                       )
                                      )           JURY TRIAL DEMANDED
                Defendant.



                                      COMPLAINT

      AND NOW COMES, Plaintiff Raidmond Hansbrew, by and through his attorney,

Sunwabe Law Firm and Charles Kwalonue Sunwabe Jr., Esquire, avers as follows:


                                 Jurisdiction and Venue

      1. This action arises in part under 42 U.S.C. § 1983.

      2. Jurisdiction over Plaintiff’s claims is conferred on the Court by 28 U.S.C.

           §§1331, 1343 and 1367.

      3. Venue in this District is proper pursuant to 28 U.S.C. §1391(b).



                                          The Parties

      4. Plaintiff incorporates the preceding paragraphs by reference as though set fully

           herein.

      5. Plaintiff, Raidmond Hansbrew (hereinafter “Plaintiff” or “Hansbrew”) is a

           resident of the City of Erie in Erie County, Pennsylvania.
Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 2 of 8




  6. Defendant, Joshua Allison (hereinafter “Defendant Allison”), is an adult

     individual who currently resides in the Western District of Pennsylvania.

  7. At all times relevant thereto, Defendant Joshua Allison was a police officer for

     the Erie Police Department. He is being sued in his individual capacity.

  8. At all times relevant, Defendant Allison acted under color of law.


                                            Facts

  9. Plaintiff incorporates the preceding paragraphs by reference as if fully rewritten

     herein.

  10. On or about May 14, 2018, at approximately 8.00 pm, Defendant, Joshua

     Allison responded to a domestic complaint phone called made by Plaintiff’s

     girlfriend.

  11. After speaking with Plaintiff’s girlfriend, Defendant Allison approached

     Plaintiff, and after a brief conversation, placed him under arrest. At all times

     relevant thereto, Plaintiff was fully compliant with Defendant Allison’s request

     and order.

  12. Suddenly and without any provocation from Plaintiff, Defendant Allison

     became angry and started to physically assault Plaintiff. Plaintiff did not fight

     back or do anything that may have been construed as aggressive while he was

     being assaulted. When Plaintiff asked Defendant Allison why he was being

     assaulted, Defendant Allison became more enraged, spat at Plaintiff and

     slammed him into the gravel pavement.




                                        2
Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 3 of 8




     Simultaneously, Defendant Allison directed profanities and insults towards

     Plaintiff. This pattern of verbal and physical abuse was punctuated with a loud

     voice that consistently ordered Plaintiff to “shut up and be quiet”.

  13. As a result of the Defendant Allison’s actions, Plaintiff sustained a head injury

     and began to bleed. When Plaintiff asked him to stop the unprovoked assault,

     Defendant Allison again responded by saying that “this is what you get for

     talking back to an officer”.

  14. Subsequently, Defendant Allison ordered Plaintiff into the police cruiser and

     transported Plaintiff to the Erie Police Department on State Street.

      Upon arriving at the Erie Police Department, Defendant Allison took Plaintiff

     to the processing window so that Plaintiff could be booked. While waiting to

     be processed, Defendant Allison continued to verbally abuse and spit at

     Plaintiff. Again, Plaintiff politely asked Defendant Allison to stop the

     unnecessary and unprovoked insults and attacks.



  15. At this juncture, Defendant Allison anger intensified. In a stunning display of

     violence, Defendant Allison body slammed Plaintiff’s head into the hard

     cement wall/cement pavement located in the processing area at the Erie Police

     Department on State Street. It is important to note that during this time,

     Plaintiff was already in handcuffs and was not a threat to anyone including

     Defendant Allison.

  16. The impact of Plaintiff being slammed into the cement wall was so severe that

     Plaintiff lost consciousness. Plaintiff had no recollection regarding what



                                        3
Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 4 of 8




        happened next except that Plaintiff woke up in a jail cell at the Erie Police

        Department, lying in a pool of blood.

  17. At this point, Plaintiff was in severe pain, and had serious laceration and deep

        cuts to his head.

  18.     As his pain and bleeding intensified, Plaintiff cried for help. Each call for

        help went unheeded as no “on duty Erie Police officer” was responded to

        Plaintiff’s repeated call for help.

  19. Determined to get desperately needed help, Plaintiff began shouting louder.

  20. Finally, a female police officer investigated Plaintiff’s unrelenting call for help

        by observing Plaintiff’s jail-cell via a video camera. She noticed that Plaintiff

        was seriously hurt. However, she casually gave Plaintiff a bandage and left

        Plaintiff lying in agony in a pool of blood.

  21. Shortly thereafter, Plaintiff intensified his call for help. Another Erie Police

        officer appeared and started the process of getting Plaintiff actual assistance.

  22. Subsequently, Plaintiff was transported to UPMC Hamot Hospital, where he

        received more than 20 stiches to his head and he was given some pain

        medication. Plaintiff was taken back to Erie Police Department and placed in

        another holding cell. After a few hours, His pain returned along with a severe

        headache.

  23. During this time, Erie Police transported Plaintiff to Erie County Jail. Upon

        arrival, Erie County Jail refused to accept Plaintiff noting that his “head

        injuries were concerning, and that Plaintiff needed a head CT Scan”. Erie




                                              4
Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 5 of 8




     County Jail went on to point out that Plaintiff would not be accepted in the

     condition that Plaintiff was in.

  24. Plaintiff was then transported back to UPMC Hamot Hospital, where Plaintiff

     underwent a head CT Scan.

  25. While all this was going on, Defendants Allison filed a bogus complaint

     against Plaintiff alleging Aggravated Assault. Subsequently, the Aggravated

     assault charge was withdrawn.

  26. At all times relevant to the within complaint, Defendant Allision’s penchant

     for brutality turned a peaceful arrest into a brutal display of unprovoked police

     violence that landed Plaintiff into the hospital on the aforesaid night.

  27. The repeated use of unjustified force was unnecessary under the circumstance

     because Plaintiff was already handcuffed and in custody.

  28. Lamentably, Defendant Allison felt inclined to brutalize Plaintiff while

      dismissing Plaintiff’s legitimate concerns regarding the brutality he was being

     subjected to.

  29. From the outset, Plaintiff asked Defendant Allision to state exactly

     what Plaintiff had done wrong to deserve the rough treatment and physical

     assault. As noted previously, Defendant Allison repeated told Plaintiff to shut

     up.

  30. Since the aforesaid incident, Plaintiff continued to experience severe pain,

     headache, and emotional distress.

  31. More troubling, Plaintiff’s headache and pain are continuing and there seem to

     be no end in sight. Particularly significant, Plaintiff continued to have severe



                                         5
Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 6 of 8




     episodes of emotional distress, anxiety, and sleeplessness. These symptoms are

     directly correlated to the physical assault that Plaintiff suffered at the hands of

     the Defendant.


                                COUNT I
Fourth Amendment Excessive - force claim pursuant to 42 U.S.C. § 1983 against
                       Defendant, Joshua Allison

  32. Plaintiff incorporates the preceding paragraphs by reference as if fully set forth

     herein.

  33. Pursuant to the Fourth Amendment of the United States Constitution, a police

     officer is required to use objectively reasonable force to execute a lawful arrest.

  34. Defendant Joshua Allison used unreasonable, overly excessive force when

     Plaintiff initially complied with Defendant’s order and was placed under arrest.

     The excessive use of force occurred when Defendant body slamming Plaintiff

     into the hard gravel pavement, which caused the initial injuries to Plaintiff’s

     head.

  35. Defendant Joshua Allison used unreasonable and unnecessary force when he

     forcibly grabbed and slammed Plaintiff’s head into the cement wall during

     when Plaintiff was being booked at the Erie Police Department. Plaintiff was

     already handcuffed and was not resisting when the Defendant slammed him

     into the concrete wall.

  36. By slamming Plaintiff into the hard gravel ground while he was in handcuffs

     and was not resisting Defendant’s orders, Defendant, Joshua Allison used

     excessive and unreasonable force.

  37. Never once did Plaintiff attempt to evade arrest or pose a threat to

                                         6
  Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 7 of 8




          Defendant, Joshua Allison when Defendant Allison used unreasonable,

          Excessive and unjustified force to slammed Plaintiff into a gravel ground and

          concrete wall.

      38. By using unnecessary and excessive force, Defendant Joshua Allison violated

          the Fourth Amendment, as Defendant Allison deprived Plaintiff of his right not

          to be subjected to an unreasonable seizure of his person.

      39. This constitutes a civil rights violation pursuant to 42 U.S.C. §1983.

      40. A direct result of Defendant use of excessive force is that Plaintiff suffered

          significant physical, emotional, and psychological injuries.

      41. Plaintiff now suffers from extreme emotional distress, routine anxiety attacks

          and unnecessary panic, sleepless nights, pain and ongoing suffering and

          unrelieved headache.

      42. The actions of the Defendant Joshua Allison were intentional, wanton,

          malicious and completely indifferent to Plaintiff’s rights, therefore entitling

          Plaintiff to punitive damages.

      WHEREFORE, Plaintiff asks for judgment in his favor, and against Defendant

Joshua Allison for compensatory damages plus costs, reasonable attorney fees pursuant to

42 U.S.C. § 1988 and any other relief the Court deems appropriate.

                                       COUNT II
                  Assault and Battery against Defendant Joshua Allison

      43. Plaintiff incorporates the preceding paragraphs by reference as if fully

          rewritten herein.

      44. Because Defendant Joshua Allison used unnecessary and excessive force in

          arresting Plaintiff, Defendant is liable to Plaintiff for assault and battery.


                                              7
  Case 1:20-cv-00114-SPB-MPK Document 23 Filed 02/05/21 Page 8 of 8




      45. The actions of the Defendant Joshua Allison were intentional, wanton,

         malicious and completely indifferent to Plaintiff’s rights, therefore entitling

         Plaintiff to punitive damages.

              WHEREFORE, Plaintiff asks for judgment in his favor, and against

         Defendants Joshua Allison for compensatory damages, punitive damages and

         any other relief the Court deems appropriate.

                                   JURY TRIAL DEMAND

       Plaintiff hereby makes a demand for a trial by jury on all triable issues.




Date: Jan 3, 2021                             Respectfully submitted,

                                             /s/ Charles Kwalonue Sunwabe Jr.
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                                             8
